Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.21 Filed 03/01/21 Page 1 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.22 Filed 03/01/21 Page 2 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.23 Filed 03/01/21 Page 3 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.24 Filed 03/01/21 Page 4 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.25 Filed 03/01/21 Page 5 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.26 Filed 03/01/21 Page 6 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.27 Filed 03/01/21 Page 7 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.28 Filed 03/01/21 Page 8 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.29 Filed 03/01/21 Page 9 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.30 Filed 03/01/21 Page 10 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.31 Filed 03/01/21 Page 11 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.32 Filed 03/01/21 Page 12 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.33 Filed 03/01/21 Page 13 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.34 Filed 03/01/21 Page 14 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.35 Filed 03/01/21 Page 15 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.36 Filed 03/01/21 Page 16 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.37 Filed 03/01/21 Page 17 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.38 Filed 03/01/21 Page 18 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.39 Filed 03/01/21 Page 19 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.40 Filed 03/01/21 Page 20 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.41 Filed 03/01/21 Page 21 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.42 Filed 03/01/21 Page 22 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.43 Filed 03/01/21 Page 23 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.44 Filed 03/01/21 Page 24 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.45 Filed 03/01/21 Page 25 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.46 Filed 03/01/21 Page 26 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.47 Filed 03/01/21 Page 27 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.48 Filed 03/01/21 Page 28 of 50




                                ATTACHMENT B

                            STATEMENT OF FACTS

      The following Statement of Facts is incorporated by reference as part of the

Plea Agreement, dated January 27, 2021 between the United States Attorney’s

Office for the Eastern District of Michigan and FCA US LLC (FCA). The parties

hereby agree and stipulate that the following information is true and accurate.

      FCA admits, accepts, and acknowledges that it is responsible for the acts of

its officers, directors, employees, and agents as set forth below. Had this matter

proceeded to trial, FCA acknowledges that the United States would have proven

beyond a reasonable doubt, by admissible evidence, the facts alleged below and set

forth in the criminal Information:

      1.     Defendant FCA, sometimes referred to as FCA US LLC, was an

 automotive company based in Auburn Hills, Michigan, and the successor to the

 automotive company formerly known as Chrysler Group LLC. At all relevant times,

 FCA was the United States operating subsidiary of Fiat Chrysler Automobiles NV,

 a publicly traded organization listed on the New York Stock Exchange. FCA

 manufactured and sold automobiles in the United States under brands such as

 Chrysler, Jeep, Dodge, and Ram. FCA was an employer in an industry affecting

 interstate commerce and subject to the Labor Management Relations Act, 29 U.S.C.

 §§ 142 & 152.
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.49 Filed 03/01/21 Page 29 of 50




      2.     The International Union, United Automobile, Aerospace, and

 Agricultural Implement Workers of America (UAW) was a labor organization

 based in Detroit, Michigan. The UAW represented tens of thousands of non-

 managerial employees employed by FCA at numerous locations in Michigan and

 across the United States.

      3.     Established in 1985 pursuant to a collective bargaining agreement

 between Chrysler Corporation (Chrysler) and the UAW, the UAW-Chrysler Skill

 Development & Training Program d/b/a the UAW-Chrysler National Training

 Center (NTC) was a tax-exempt corporation based in Detroit, Michigan. The NTC

 was established to function as a labor management committee under the Labor

 Management Labor Relations Act, 29 U.S.C. § 186(c)(9). The stated purpose of the

 NTC was to provide for the education, training, and retraining of workers. Pursuant

 to the 1985 collective bargaining agreement, Chrysler was obligated to fund the

 NTC based on a formula set out in the agreement. That obligation, as extended

 through subsequent collective bargaining agreements, was assumed by FCA in

 connection with its acquisition of substantially all of the assets of Chrysler LLC in

 2009 pursuant to Section 363 of the U.S. Bankruptcy Code.

      4.     The governing body of the NTC was known as the Joint Activities

 Board. The Vice President of Employee Relations of FCA and the Vice President
                                          2
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.50 Filed 03/01/21 Page 30 of 50




 of the Chrysler Department of the UAW served as the Chairs of the NTC Joint

 Activities Board. The remainder of the Joint Activities Board was made up of senior

 UAW officials from the UAW and FCA executives and employees.

      5.     Alphons Iacobelli was the FCA Vice President for Employee Relations

 and a person acting in the interest of employer FCA from 2008 through his

 separation from FCA in June 2015. As the FCA Vice President for Employee

 Relations, Iacobelli was the senior FCA official responsible for administering the

 collective bargaining agreements between FCA and the UAW, and FCA’s lead

 representative for labor relations and management of FCA’s relationship with the

 UAW. Iacobelli was also the senior FCA official responsible for resolving disputes

 and grievances that arose under the collective bargaining agreements between FCA

 and the UAW. Iacobelli was the Co-Chair of the NTC and the NTC Joint Activities

 Board from 2008 through his separation from FCA in June 2015.

      6.     Jerome Durden was a Financial Analyst in FCA’s Corporate

 Accounting Department and a person acting in the interest of employer FCA from

 2008 through his separation from FCA in June 2015, during which time Durden

 was the Controller of the NTC and served as the secretary of the NTC Joint

 Activities Board.



                                         3
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.51 Filed 03/01/21 Page 31 of 50




        7.   Michael Brown was employed as a Director for Employee Relations at

 FCA from 2009 through May 2016. During that time, Brown was personally

 involved in the administration of the national collective bargaining agreements

 between FCA and the UAW and had authority to sign letters and agreements on

 behalf of FCA with the UAW. Brown also represented FCA as a Co-Director of the

 NTC.

        8.   General Holiefield was a UAW officer who served as the Vice

 President for the Chrysler Department of the UAW from 2006 through mid-2014.

 As the most senior UAW official in the Chrysler Department, Holiefield was

 responsible for negotiating and administering the collective bargaining agreements

 between the UAW and FCA on behalf of tens of thousands of FCA employees

 represented by the UAW. From 2012 through 2013, Holiefield made over $200,000

 worth of personal purchases on his NTC credit card, paid for with money supplied

 by FCA to the NTC pursuant to the collective bargaining agreements, including

 jewelry, furniture, designer clothing, and other personal items and expenses.

 Holiefield is deceased.

        9.   Norwood Jewell was a UAW officer who served as the Vice President

 for the Chrysler Department of the UAW from mid-2014 through 2016. As the most

 senior UAW official in the Chrysler Department, Jewell was responsible for
                                         4
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.52 Filed 03/01/21 Page 32 of 50




 negotiating and administering the collective bargaining agreements between the

 UAW and FCA on behalf of tens of thousands of FCA employees represented by

 the UAW. Between 2014 and 2016, Jewell accepted over $90,000 in prohibited

 payments in the form of personal purchases on NTC credit cards, including

 entertainment, liquor, extravagant meals, and golf.

      10.    Nancy A. Johnson was a UAW employee who served as an official in

 the UAW Chrysler Department from 2014 through August 2016. Between 2014 and

 2016, Johnson accepted over $75,000 in prohibited payments in the form of

 personal purchases on NTC credit cards, including golf clubs, clothing, jewelry,

 luggage, designer shoes, dining, and other personal items and expenses.

      11.    Keith Mickens was a UAW employee who served as an official in the

 UAW Chrysler Department from 2010 through December 2015. Between 2012 and

 2014, Mickens accepted over $141,000 in prohibited payments in the form of

 personal purchases on NTC credit cards, including electronics, concert and sporting

 event tickets, and other personal items and expenses.

      12.    Virdell King was a UAW employee who served as an official in the

 UAW Chrysler Department from 2008 until February 2016. Between 2011 and

 2016, King accepted over $40,000 in prohibited payments in the form of personal



                                         5
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.53 Filed 03/01/21 Page 33 of 50




 purchases on NTC credit cards, including clothing, designer shoes, jewelry, luggage

 and other personal items and expenses.

      13.    Monica Morgan was a professional photographer and Holiefield’s

 girlfriend and, later, wife. They wed in 2012.

      14.    FCA provided the funding for the NTC, pursuant to its obligations

under the collective bargaining agreements between the UAW and Chrysler and,

later, FCA. From 2009 to 2015, FCA made annual transfers to the NTC of between

approximately $13 million and approximately $31 million per year. During that

time, FCA executives and employees and UAW officials on the Joint Activities

Board controlled the finances and spending of the NTC. This included FCA

employees Iacobelli and Durden. Following the separation of Iacobelli and Durden

in June 2015, other FCA executives and employees assumed this responsibility.

      15.    Between in or before January 2009 and continuing through in or after

2016, Iacobelli and Durden knowingly and voluntarily agreed to use, or authorized

the use of, NTC bank accounts and credit cards to pay for more than $3.5 million of

personal purchases, personal expenditures, and personal travel for General

Holiefield, Monica Morgan, Norwood Jewell, Nancy A. Johnson, Keith Mickens,

Virdell King, and other UAW officials, and their associates and family members. As

part of his guilty plea, Iacobelli acknowledged that he had used the bank accounts
                                          6
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.54 Filed 03/01/21 Page 34 of 50




and credit card accounts of the NTC to benefit officers and employees of the UAW,

knowing that those individuals were not permitted to receive the money and other

things of value.

      16.    Iacobelli encouraged UAW officials General Holiefield, Norwood

Jewell, Nancy A. Johnson, Virdell King, Keith Mickens and others to make personal

purchases on their NTC credit cards. Iacobelli implemented a liberal spending policy

on those cards, encouraging the UAW officials to use them freely for personal

purchases. Iacobelli approved over $450,000 in personal credit card purchases by

UAW personnel from 2012 to June 2015. From June 2015 through 2016, other

employees acting in the interest of FCA continued to approve prohibited personal

purchases for UAW personnel. UAW officials purchased items such as jewelry,

furniture, golf clubs, electronics, designer clothing, and other personal items using

their NTC credit cards.

      17.    Iacobelli and Durden approved expenditures of NTC funds to pay for

personal travel, entertainment, and parties for UAW officials. The NTC’s Diners

Club credit card accounts were used to pay for personal travel for Holiefield and his

then-girlfriend, Monica Morgan, including over $30,000 in airline tickets for

Morgan, who was never an employee of the UAW or the NTC.

      18.    Iacobelli and Durden concealed hundreds of thousands of dollars in
                                         7
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.55 Filed 03/01/21 Page 35 of 50




additional prohibited payments to Holiefield and Morgan through front companies.

Wilson’s Diversified Products LLC (WDP), owned and operated by Morgan, was

created in December 2010 to provide shirts, key chains, mugs, and the like with the

UAW logo on it to the NTC as its vendor. WDP was selected at the direction of

Holiefield, without WDP’s providing a bid, estimate, or quote. Iacobelli, Durden and

another FCA employee approved the selection of WDP and subsequent payments to

WDP. They considered these payments as a form of “relationship building” with the

UAW and Holiefield. In 2011 and 2012, Iacobelli and other FCA employees

authorized and directed the expenditure of more than $435,000 to WDP. In 2011,

UAW President Bob King raised issues with Morgan being a vendor. Soon

thereafter, after being approached by Morgan and Holiefield, an associate of

Morgan’s established Morgan Company A and was selected as an NTC vendor. A

high percentage of the proceeds of Morgan Company A were transferred directly to

another company controlled by Morgan, Monica Morgan Photography. In 2013,

Monica Morgan Photography invoiced the NTC for funds to install a pool at the

Holiefield/Morgan residence. Iacobelli, Durden and another employee, as well as

UAW employees, authorized the payments, which exceeded $700,000, to these

conduit vendors.

      19.   Iacobelli and Durden concealed hundreds of thousands of dollars in
                                         8
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.56 Filed 03/01/21 Page 36 of 50




additional prohibited payments to Holiefield and Morgan through LTLOF. Three

FCA employees served on the LTLOF Board. From 2009 to 2013, the NTC

transferred over $380,000 to LTLOF. While LTLOF made selected donations of

$3,000 to $4,000 to what appear to be legitimate charitable projects, the majority of

funds spent by the LTLOF went to Holiefield and Morgan through Monica Morgan

Photography.

      20.    In June 2014, Iacobelli authorized the expenditure of approximately

$262,000 to satisfy the outstanding mortgage on Holiefield and Morgan’s personal

residence in Harrison Township, Michigan.

      21.    In August 2014, Iacobelli authorized the expenditure of approximately

$25,000 for a party for UAW Vice President Norwood Jewell and the UAW’s

International Executive Board.

      22.    In January and February 2015, Iacobelli approved the use of NTC credit

cards to pay for over $30,000 in meals for UAW officials at various restaurants in

Palm Springs and southern California.




                                         9
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.57 Filed 03/01/21 Page 37 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.58 Filed 03/01/21 Page 38 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.59 Filed 03/01/21 Page 39 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.60 Filed 03/01/21 Page 40 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.61 Filed 03/01/21 Page 41 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.62 Filed 03/01/21 Page 42 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.63 Filed 03/01/21 Page 43 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.64 Filed 03/01/21 Page 44 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.65 Filed 03/01/21 Page 45 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.66 Filed 03/01/21 Page 46 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.67 Filed 03/01/21 Page 47 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.68 Filed 03/01/21 Page 48 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.69 Filed 03/01/21 Page 49 of 50
Case 2:21-cr-20031-PDB-RSW ECF No. 14, PageID.70 Filed 03/01/21 Page 50 of 50
